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UNITED STATES DISTRICT COURT                                                         March 29, 2017
                                                                        DATE FILED: ______________
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
                                                       :
GARY ZAGAMI, individually and on behalf of :
all others similarly situated,                         :
                                                       :
                                       Plaintiff,      :       15 Civ. 7194 (KPF)
                                                       :
                        v.                             :    OPINION AND ORDER
                                                       :
CELLCEUTIX CORPORATION,                                :
LEO EHRLICH, and KRISHNA MENON,                        :
                                                       :
                                       Defendants. :
                                                       :
------------------------------------------------------ X
KATHERINE POLK FAILLA, District Judge:

       In an Opinion and Order dated June 8, 2016, this Court granted the

motion of Defendants Cellceutix Corporation (“Cellceutix”), Leo Ehrlich, and

Krishna Menon (together, “Defendants”) to dismiss the Second Amended

Complaint filed by Plaintiff Gary Zagami. See Zagami v. Cellceutix Corp.,

No. 15 Civ. 7194 (KPF), 2016 WL 3199531 (S.D.N.Y. June 8, 2016), appeal

withdrawn (Sept. 6, 2016). Shortly thereafter, Defendants moved pursuant to

the mandatory review provision of the Private Securities Litigation Reform Act

of 1995 (the “PSLRA”), 15 U.S.C. § 78u-4(c)(1), for a finding that the lawsuit

amounted to “abusive litigation,” and for the consequent imposition of

sanctions pursuant to Rule 11 of the Federal Rules of Civil Procedure. For the

reasons set forth in the remainder of this Opinion, Defendants’ motion is

denied. 1


1      Defendants’ motion papers repeatedly request that the Court find that the complaints
       filed in the instant lawsuit amounted to “abusive litigation,” such that sanctions are
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                                      BACKGROUND 2

A.    Factual Background

      Critical to resolution of the instant motion is an understanding of the

events underlying the filing of the three complaints in this matter. That

history is presented, with appropriate detail, in this section. Familiarity with

the Court’s prior decision on Defendants’ motion to dismiss, and with the

scientific and financial terminology discussed therein, is presumed.

      1.     The Parties to the Action

      Cellceutix is a clinical-stage biotechnology company developing several

drugs for approval by the Food and Drug Administration (the “FDA”), including

the drugs Kevetrin and Brilacidin. (SAC ¶¶ 2, 13). Defendant Krishna Menon

has served as President, Chief Scientific Officer, Director, and Chairman of the

Board of Cellceutix since 2007. (Id. at ¶ 14). Defendant Leo Ehrlich has

served as Chief Financial Officer and Director of Cellceutix since 2007, and as

the company’s Chief Executive Officer since 2010. (Id. at ¶ 15).


      warranted, but do not specify against whom such sanctions should be imposed.
      Inasmuch as most of their arguments are directed to Plaintiff’s counsel, the Rosen Law
      Firm, and most of the claims relate to legal deficiencies, the Court will assume that
      sanctions are sought against the Rosen Law Firm. See Chien v. Skystar Bio
      Pharmaceutical Co., 256 F.R.D. 67, 72 (D. Conn. 2009) (“Sanctions for the legal
      insufficiency or frivolousness of the complaint must run against the attorney alone.”
      (citing, inter alia, Fed. R. Civ. P. 11(c)(5)).
2     This Opinion draws from the parties’ submissions in both the motion to dismiss and
      the motion for sanctions, in particular, the declarations submitted in support and in
      opposition to the motions and the exhibits thereto. These declarations are cited using
      the conventions “[Name] MTD Decl.” and “[Name] Sanctions Decl.” In addition, the
      underlying Complaint (Dkt. #1) is referred to as “Compl.”; the First Amended
      Complaint (Dkt. #10) as “FAC”; and the Second Amended Complaint (Dkt. #32) as
      “SAC.” For convenience, Defendants’ brief in support of their motion for sanctions
      (Dkt. #63) will be referred to as “Def. Sanctions Br.”; Plaintiff’s brief in opposition (Dkt.
      #67) as “Pl. Sanctions Opp.”; and Defendants’ reply brief (Dkt. #69) as “Def. Sanctions
      Reply.”


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      Plaintiff Gary Zagami purchased Cellceutix securities during the class

period alleged in the SAC. (SAC ¶ 12).

      2.     The Mako Research Report

      On August 6, 2015, a short seller of Cellceutix securities using the

pseudonym “Mako Research” posted an article (the “Mako Research Report”)

on the website Seeking Alpha; the author contended that Cellceutix was a

“sham” company and purported to identify (and explain the falsity of)

misrepresentations and omissions of material fact in the company’s public

statements. (See Sullivan MTD Decl., Ex. 1 (Mako Research Report); see also

SAC ¶ 5 (alleging that Defendants’ fraud “began to be exposed” with

publication of the Mako Research Report)). 3

      The Mako Research Report was the crux of Plaintiff’s claims of fraud,

and is now the crux of Defendants’ motion for sanctions; it thus merits a

detailed analysis. The Report is 38 pages long when printed out, with certain

pages taken up by graphs, charts, and photographs. The thesis of the article

was stated up front; it is lengthy, but worth repeating:

             Cellceutix is run out of what appears to be an empty
             office building, and no one answers the phone — it
             appears that this is nothing more than a shell
             corporation.



3     Curiously, Plaintiff and his counsel refer to the Mako Research Report in their
      opposition papers as the “Pump Stopper Report.” (See, e.g., Pl. Opp. 5). The name
      Pump Stopper appears nowhere in the Mako Research Report. While the Court does
      not need to, and thus will not, take judicial notice of same, it observes that Mako
      Research may simply be a more current nom de net of the short-seller formerly known
      as Pump Stopper. See
      http://investorshub.advfn.com/boards/read_msg.aspx?message_id=116165363 (last
      visited Mar. 28, 2017).


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    CTIX science is demonstrably unviable, rendering this
    public shell likely worth substantially less than its
    current value.

    The company is run by a management team with a long
    history of self-enrichment and shareholder value
    destruction.

    One of these insiders has repeatedly issued false
    statements about his background.

    CTIX is a black hole of related party transactions,
    enriching consulting agreements, and financing
    arrangements with known Ponzi scheme fraudsters as
    financing partners.

    The company’s fair value is 96-99% lower than the
    current price. CTIX should be avoided. This stock is
    dangerous.

    I have been a professional investor for nearly a decade
    and have researched over 1,000 stocks, and I believe
    that Cellceutix is far and away the worst public
    company I have ever seen. The company is rife with
    unethical conflicts of interest from insiders who appear
    to be recycling a historically effective playbook that has
    resulted in self-enrichment at the expense of minority
    shareholders. This team of insiders has been involved
    in numerous stock market wipeouts that have cost
    shareholders untold fortunes.

    The “company” is run out of a shell office that was
    leased to CTIX by the company’s president. Numerous
    calls to management went unanswered.

    There is a strong probability that (OTCPK:CTIX) is
    manipulated by stock promoters and overseas boiler
    rooms, which is explained below.

    Additionally, after hiring an independent scientist with
    a Doctorate in Biochemistry to review Cellceutix’s
    “science,” I have concluded that the company’s drug
    pipeline is without merit and is likely entirely without
    value, as detailed below.

    I value shares of Cellceutix at $0.09 in a best-case
    scenario, which is 96% lower than the current price,


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            and recommend that investors avoid this company
            entirely. It’s clear to me that Cellceutix is very likely to
            end up as a complete wipeout for shareholders over
            time, and stands to continue declining significantly if
            we experience more near-term market volatility. I am
            appalled that this company is even allowed to remain
            public, and recommend that the SEC immediately
            begin an investigation into all related parties and
            trading activity in CTIX stock.

(Sullivan MTD Decl., Ex. 1 at 1).

      In the succeeding 37 pages, the author added flesh to the bones of his

thesis. On the issue of Cellceutix’s office space (which presumably went to the

bona fides of the company’s endeavors), the author included pictures of the

office “taken in early August 2015 during business hours.” (Sullivan MTD

Decl., Ex. 1 at 2-3). The pictures show no one, and were presented to

supplement the author’s contention that repeated efforts to contact Cellceutix

personnel by telephone were unsuccessful. (Id.).

      The author then spent six pages debunking the science behind the three

pharmaceutical products that are the lifeblood of Cellceutix, prefacing his

comments as follows:

            As my research below demonstrates, the entire pipeline
            of drugs that the company boasts about continuously
            in its press releases is likely to be entirely without
            value. My conclusion is based on due diligence
            conducted by an independent Doctor of Biochemistry,
            who spent weeks researching CTIX’s claims. This
            person is a published medical researcher who has
            extensive clinical trial research experience.

(Sullivan MTD Decl., Ex. 1 at 4). Addressing first the antibiotic Brilacidin, the

author contended that the drug (i) was ineffective and caused adverse side

effects in patients; (ii) had been purchased from a bankrupt company named

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PolyMedix (suggestive to the author of a prior market determination that the

product had no value); (iii) would be “difficult to commercialize”; (iv) did not

work as to most types of bacterial infections (particularly Gram-negative

infections); 4 and (v) was ineffective in reducing the risk of infection for those

experiencing oral mucositis. (Id. at 4-7). Proceeding next to the cancer-

treatment drug Kevetrin, the author maintained that the drug did not target

cancer stem cells, and was touted because of its effects on a biomarker gene,

p21, that the author characterized as “invalid.” (Id. at 7-8). 5 Finally, and

more summarily, the author criticized Cellceutix’s anti-psoriatic drug Prurisol,

which the author claimed was less effective than other drugs and had worse

side effects. (Id. at 9).

      From here, the author proceeded to attack Cellceutix’s senior

management, beginning with Menon, who was alleged to have misstated or

overstated his resume (including by reporting a degree from Harvard

University that he did not receive), and to have had ties to other biochemical

companies that “all … appear to be shell companies designed to enrich

insiders.” (Sullivan MTD Decl., Ex. 1 at 10; see also id. at 9-12). Along with

his co-defendant in this case, Menon was identified as part of the “Ehrlich-

Menon Value Destruction Team,” with charts purporting to demonstrate the


4     See Zagami v. Cellceutix Corp., No. 15 Civ. 7194 (KPF), 2016 WL 3199531, at *9 n.11
      (S.D.N.Y. June 8, 2016) (distinguishing Gram-positive and Gram-negative bacteria).
5     Relatedly, the author derided Cellceutix’s clinical-trial protocols. (See, e.g., Sullivan
      MTD Decl., Ex. 1 at 8 (“To overcome these clinical problems, Kevetrin should be tested
      alongside other medications, including conventional anti-cancer drugs, to see the
      potential drug interactions. But in the clinical trials, Cellceutix has not co-
      administered any other drugs.”)).


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loss in value of securities at two other companies with which the two were

involved, StatSure Diagnostics and NanoViricides. (Id. at 12-15). The two

officers were also alleged to have been “tied up with Ponzi scheme financiers.”

(Id. at 16; see generally id. at 16-32).

      The post ended as it began: The author importuned investors to

“completely avoid CTIX stock, as I estimate it has 96-99% downside from the

current price.” (Sullivan MTD Decl., Ex. 1 at 35).

      3.     The Filing of the Equity Alert

      A few hours after the Mako Research Report was posted, Plaintiff’s

counsel issued an “Equity Alert” news release, which stated in relevant part:

             The Rosen Law Firm, a global investor rights law firm,
             announces it is investigating potential securities
             claims on behalf of shareholders of Cellceutix
             Corporation (OTC: CTIX) resulting from allegations that
             Cellceutix may have issued materially misleading
             business information to the investing public.

             On August 6, 2015, Seeking Alpha published an article
             revealing that Cellceutix misrepresented the efficacy of
             its drug candidates Brilacidin, Kevetrin, and Prurisol.
             On this news, shares of Cellceutix fell sharply during
             intraday trading on August 6, 2015, damaging
             investors.

             The Rosen Law Firm is preparing a class action lawsuit
             to recover losses suffered by Cellceutix investors. If
             you purchased shares of Cellceutix before August 6,
             2015,    please    visit  the   firm’s   website    at
             http://rosenlegal.com/cases689.html       for    more
             information[.]

(Sullivan MTD Decl., Ex. 18; compare id. at 1 (reflecting issuance of Equity

Alert at 12:41 p.m. Eastern Daylight Time), with id., Ex. 1 at 1 (reflecting

posting of Mako Research Report at 10:30 a.m. Eastern Time)). The original


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plaintiff in this action, Nicole O’Connell, authorized the filing of a securities

class action complaint that same day; she certified that she had read the

Rosen Law Firm’s proposed complaint and authorized its filing, but no

complaint was in fact filed that day. (Compl., Ex. 1).

      4.     Cellceutix’s Response

      The next day, Cellceutix responded with a press release (the “August 7

Press Release”) that provided information regarding, among other things, four

clinical trials in which it was involved. (See Sullivan MTD Decl., Ex. 2; SAC

¶¶ 26, 28, 45-47; see also SAC ¶ 5 (alleging that press release confirmed the

falsity of certain of Defendants’ prior public statements)).

      The August 7 Press Release comprised nine pages of small-font type,

and endeavored to address each science-based criticism contained in the

Mako Research Report by summarizing the criticism and then setting forth

facts designed to refute it. First, as an easy retort, Cellceutix presented

competing office photographs that depicted some of its employees. (Sullivan

MTD Decl., Ex. 2 at 1-2). It then addressed more substantive matters, such

as the Report’s criticisms of Brilacidin, noting in part that:

             The hyper-linked table provided by the shorter is
             misleading and irrelevant as it focuses exclusively on
             key Gram-negative bacteria. Brilacidin is for treating
             [G]ram[-]positive infections such as acute bacterial
             skin and skin structure infections (ABSSSI) caused by
             Staphylococcus      aureus,   including    methicillin-
             resistant strains (MRSA), and was not developed for the
             treatment of Gram[-]negative infections.

(Id. at 2; see also id. at 2-6 (setting forth additional point-by-point refutations

of the scientific criticisms proffered by the author of the Mako Research Report

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concerning Brilacidin; noting, in particular, that arguments based on the

drug’s status as a peptide failed because Brilacidin was in fact a nonpeptidic

mimic of an antimicrobial peptide)). And with respect to the Mako Research

Report’s claims regarding Kevetrin, Cellceutix rejoined that (i) the drug was

still in a Phase 1 clinical trial; (ii) it had shown significant activity in

combating cancer cells; (iii) it did not, and did not claim to, have any effect on

cancer stem cells; and (iv) the clinical trial maligned by the poster was

developed in consultation with experts at the Dana-Farber Cancer Institute.

(Id. at 6-8).

       5.       Other Reports

       Other reports were published in response to the Mako Research Report.

First, on August 11, 2015, Dr. Richard W. Scott of the Fox Chase Chemical

Diversity Center wrote to Seeking Alpha seeking a retraction of the Mako

Research Report. (Def. Sanctions Reply, Ex. 3). 6 Scott detailed his prior

involvement with the development team at PolyMedix (the entity from which

Cellceutix had purchased Brilacidin), as well as the reasons why he

considered the Mako Research Report’s reference to an “unviable science” to

be “patently untrue.” (Id. at 1). 7 Scott also dismantled arguments in the

Mako Research Report that were, to him, so “specious and in certain instances



6      Dr. Scott’s letter was published on Seeking Alpha. See
       http://seekingalpha.com/instablog/21116141-ellaruth/4277526-dr-richard-scott-
       responds-seeking-alpha-article-mako-research (last visited Mar. 28, 2017).
7      In his submission, Dr. Scott also disclosed that he was consulting with Cellceutix on
       “preclinical development of … other defensin mimetics in several therapeutic
       indications.” (Def. Sanctions Reply, Ex. 3 at 2).


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laughable” that they caused him to doubt the author’s references to

consultation with an “independent scientist with a Doctorate in Biochemistry.”

(Id.).

         Separately, Don Seiffert, the Life Sciences Editor of the Boston Business

Journal, sought to investigate the Mako Research Report’s “empty office”

claims. On August 14, 2015, he published an article entitled, “My Visit to

Cellceutix, the biotech that a short seller recently called a sham.” (Def.

Sanctions Reply, Ex. 2). In preparation for the article, Seiffert met with

Ehrlich and Menon to discuss Cellceutix’s technology, and took a tour of the

12,000-square-foot facility, including its labs. (Id. at 2).

B.       Procedural Background

         1.    The Complaint and the First Amended Complaint

         Just over one month after the publication of the Mako Research Report,

on September 11, 2015, the Rosen Law Firm filed a class action complaint on

behalf of Nicole O’Connell against Defendants. The Complaint recited

violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934

(the “Exchange Act”), 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b–5

promulgated thereunder, 17 C.F.R. § 240.10b-5. (Dkt. #1).

         The Complaint relied heavily on the Mako Research Report, which it

discussed in detail under the heading, “The Truth Emerges.” (See Compl.

¶ 23). However, not every contention in the Report found its way into the

Complaint, and documents and materials that were not discussed in the

Report were discussed in the Complaint. In brief, the Complaint focused on


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(i) a statement in an article in the online magazine Future Woman that Menon

had obtained his Ph.D. from Harvard University (id. at ¶ 17); (ii) a September

9, 2013 Cellceutix press release discussing the acquisition of Brilacidin from

PolyMedix and the efficacy of the drug in “patients with acute bacterial skin

and skin structure infections (‘ABSSSI’) caused by Staphylococcus aureus” (id.

at ¶ 18); (iii) a second press release discussing the reaction of a Stage 4

ovarian cancer patient to Kevetrin (id. at ¶ 19); (iv) a Cellceutix poster at the

2015 European

Congress of Clinical Microbiology and Infectious Diseases (“ECCMID”) in

Copenhagen, Denmark, that touted Brilacidin’s efficacy in combating bacterial

infections (id. at ¶ 20); and (v) a poster at the 2015 American Society of

Clinical Oncology (“ASCO”) Annual Meeting in Chicago, Illinois, that touted

Kevetrin’s anti-tumor activity (id. at ¶ 21).

      The Complaint concluded:

             The statements referenced in ¶¶17-21 above were
             materially false and/or misleading because they
             misrepresented and failed to disclose the following
             adverse facts pertaining to the Company’s business,
             products, and directors’ backgrounds, which were
             known to Defendants or recklessly disregarded by
             them. Specifically, Defendants made false and/or
             misleading statements and/or failed to disclose that:
             (1) Brilacidin is not effective; (2) Kevetrin does not
             activate the p-53 gene, which is a tumor suppressor;
             and (3) Defendant Menon did not earn his PhD in
             Pharmacology from Harvard University. As a result of
             the foregoing, the Company’s public statements were
             materially false and misleading at all relevant times.

(Compl. ¶ 22).




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      The First Amended Complaint was filed as of right on September 24,

2015. (Dkt. #10). It replaced Nicole O’Connell with Plaintiff Gary Zagami. In

all substantive respects, the allegations of securities fraud remained the same.

      2.    The Selection of a Lead Plaintiff and Lead Plaintiff’s Counsel

      On October 8, 2015, Plaintiff notified the Court that he had published

the Early Class Notice, as required by the PSLRA, see 15 U.S.C. § 78u-

4(a)(3)(A), on September 11, 2015. (Dkt. #11). On October 8, 2015, the Court

issued an Order — amended by Order issued on October 29, 2015 — setting

November 10, 2015, as the deadline for members of the putative class to move

to serve as lead plaintiff, and December 10, 2015, as the deadline for

opposition to any motion for appointment of lead plaintiff. (Dkt. #12-13).

      Plaintiff filed the only motion to serve as lead plaintiff, moving also to

appoint the Rosen Law Firm as counsel, on November 10, 2015. (Dkt #14).

The Court granted the motion in its entirety following a conference on

December 18, 2015. (Dkt. #25). The Court additionally granted Plaintiff’s

request to file a Second Amended Complaint (the “SAC”), and set a briefing

schedule for Defendants’ proposed motion to dismiss. (Dkt. #24).

      3.    Defendants’ Rule 11 Notice

      Meanwhile, on October 22, 2015, counsel for Cellceutix served a

fourteen-page letter on the Rosen Law Firm, pursuant to Fed. R. Civ. P. 11,

demanding that Plaintiff withdraw the FAC, which was then the operative

complaint in the matter. (Def. Sanctions Br., Ex. 2). Counsel began by

offering background on both Cellceutix and Mako Research, noting several


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“sensational ‘reports’” that the latter had submitted to Seeking Alpha in the

preceding two months, each of which recited Mako Research’s status as a

short-seller of securities issued by the subject of the report. (Id. at 2-3).

Counsel also discussed the various articles purporting to rebut the Mako

Research Report, including the Seiffert and Scott writings discussed supra at

9-10. Finally, after summarizing the procedural history of this case and the

standards under Rule 11, counsel for Cellceutix detailed various reasons why

Cellceutix believed that it was unreasonable for Plaintiff to rely on the Mako

Research Report. (Id. at 6-14).

      4.     The Second Amended Complaint

      Plaintiff did not withdraw his complaint. Instead, Plaintiff filed the

Second Amended Complaint on January 11, 2016. (Dkt. #32). The SAC was

longer (34 pages as opposed to 21) and considerably more detailed than its

predecessors. Among other things, the SAC presented a more nuanced theory

of how certain of the purported misstatements and omissions in Cellceutix’s

public statements amounted to securities fraud:

             3.     Throughout the class period, Defendants
             misrepresented numerous aspects of Cellceutix’s
             business. Defendants exaggerated the usefulness of
             Brilacidin, claiming that it could be used to treat
             notoriously difficult to treat gram-negative bacteria
             and that it could be used as an antibiotic for “oral
             mucositis,” a common side effect of chemotherapy.
             Defendants also misrepresented the nature of the
             clinical trials they were performing on Kevetrin,
             claiming that a test they were performing during the
             Phase 1 clinical trial demonstrated Kevetrin’s efficacy,
             when in fact the scientific evidence indicates the
             opposite. Defendants misrepresented the difficulty
             and expense of taking Brilacidin to market, failing to

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            disclose that in order to complete the work required to
            obtain FDA approval of Brilacidin Cellceutix must
            [raise] drastically more money than it had raised
            previously. Defendants also failed to disclose that
            nobody at Cellceutix had any experience with Phase 3
            trials.

            4.    In addition, Krishna Menon, Cellceutix’s
            president and chief scientific officer misrepresented his
            own credentials, claiming to have invented two drugs
            he only played an insignificant role in working on, and
            pretending to have received a PhD from Harvard. His
            fabricated record helped drive up the price of Cellceutix
            stock by giving the Company unearned credibility.

            5.     This fraud began to be exposed when the short
            seller Mako Research issued a report on August 6,
            2015, stating that 1) Brilacidin was ineffective against
            gram-negative bacteria, and was ineffective as an
            antibiotic oral rinse; 2) that Kevetrin’s Phase 1 trial did
            not establish Brilacidin’s efficacy, contrary to
            Defendants’ misrepresentations; 3) that Menon lied
            about receiving a PhD from Harvard; 4) that Menon
            was not the inventor of the blockbuster drugs as he
            had     claimed.      These      revelations    corrected
            misrepresentations in the market and drove down the
            price of Cellceutix’s stock. The next day, Defendants
            issued a press release attacking the Mako Research
            report, but in doing so they admitted 1) that Brilacidin
            was not effective against gram-negative bacteria;
            2) that Defendants did not believe that Brilacidin was
            an effective antibiotic when used as an oral rinse to
            treat oral mucositis; 3) that Menon did not attend
            Harvard; and 4) that a patient who had been treated
            with Kevetrin and who Defendants claimed as a result
            had “essentially undetectable” levels of cancer cells,
            when in fact tests showed signs of her cancer
            returning, causing her doctor to discontinue treatment
            with Kevetrin. As a result, Cellceutix’s rebuttal failed
            to sway the market, and Cellceutix’s price remained
            deflated.

(SAC ¶¶ 3-5). The SAC advanced a new theory of liability, namely, that

Cellceutix had misstated its experience with clinical trials, and had not



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disclosed prior to September 11, 2015, that no one at the company had

experience with Phase III clinical trials. (Id. at ¶ 6; see also id. at ¶¶ 37-38

(“This omission was material and should have been disclosed in Defendants[’]

10-Ks that were filed in September of 2013 and 2014 because Defendants[’]

inexperience with Phase 3 trials raised a material risk with respect to the

hiring of personnel, Defendants’ ability to realistically budget for, and manage,

the clinical trials, the likelihood of future investors agreeing to raise capital,

and whether Defendants would make mistakes in the drug development

process due to their inexperience.”)).

      Separately, the SAC contained a more detailed discussion of the element

of scienter, with lengthy recitations, as to Menon, of his “long history of wildly

exaggerating and outright misrepresenting his professional qualifications and

accomplishments” (SAC ¶¶ 51-60), and as to Ehrlich, of his “serial violations

of Regulation FD” (id. at ¶¶ 61-62), his abetting of Menon’s exaggerations (id.

at ¶ 63), and the access to information he must have had concerning

Cellceutix products in light of the company’s small size and his significant

position in it (id. at ¶¶ 65-67).

      5.     The Motion to Dismiss and Its Resolution

      Defendants filed their motion to dismiss the SAC, as well as a request

for the Court to take judicial notice of certain documents, on February 10,

2016. (Dkt. #36-39). Plaintiff filed his opposition to Defendants’ motion on

March 11, 2016 (Dkt. #41), as well as his own request for judicial notice and

his partial opposition to Defendants’ request for judicial notice (Dkt. #43-45).


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Defendants filed their reply in support of their motion to dismiss on March 25,

2016, thereby concluding the briefing of the instant motion. (Dkt. #46).

      The Court issued its decision granting Defendants’ motion on June 8,

2016. (Dkt. #49). After addressing preliminary issues concerning venue and

judicial notice (id. at 8-12), the Court addressed Plaintiff’s proffered categories

of fraud largely in the order in which they appeared in the SAC. Turning first

to the Future Woman article, the Court found that Defendants were not liable

for the purported misstatements therein because those statements were not

directly attributable to Menon, nor could he have been said to have had

“ultimate authority” over the final contents. (See id. at 12-17 (citing, among

other authorities, Janus Capital Group, Inc. v. First Derivative Traders, 564

U.S. 135 (2011) (addressing what it means to “make” a statement under Rule

10b-5), and In re Pfizer Inc. Sec. Litig., 819 F.3d 642 (2d Cir. 2016) (building on

statement in Janus that “the maker of a statement is the person or entity with

ultimate authority over the statement, including its content and whether and

how to communicate it”))). It then rejected the related claim that Ehrlich had

committed securities fraud in failing to correct an erroneous statement about

Menon’s education in Cellceutix’s October 2009 Form 10-K, noting that the

statement was in fact corrected in subsequent public filings and that an

investor would have determined the truth with even minimal diligence. (Id. at

17-19).

      The Court then considered the proffered misstatements and omissions

concerning Brilacidin. (Dkt. #49 at 20-27). With respect to the poster


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presented at the ECCMID conference in 2015, the Court found that there were

no misstatements about the drug’s efficacy (or lack thereof) vis-à-vis Gram-

negative bacteria. (Id. at 22-23). It further noted that the audience for that

poster — attendees at a conference on microbiology and infectious diseases —

would not have been misled by the statements contained in it. (Id. at 23-24).

And as for Brilacidin’s efficacy in patients with oral mucositis, the Court found

that Plaintiff had not alleged an actionable falsity in Cellceutix’s statement

concerning the drug’s multiple properties, i.e., “antibacterial, anti-biofilm and

anti-inflammatory.” (Id. at 25-27).

      As for Plaintiff’s contentions about Cellceutix’s public statements

regarding Kevetrin, the Court found that most were the product of a

disagreement with the scientific underpinnings, and thus not actionable under

the securities laws. (See Dkt. #49 at 28-30 (citing, inter alia, Kleinman v. Elan

Corp., plc, 706 F.3d 145, 154 (2d Cir. 2013) (finding that plaintiffs’

disagreement with drug-trial methodology and allegation that company

“deviated from the established protocol” for such trials were insufficient to

allege falsity))). The claim of misstatement concerning the trial patient’s

outcome, in turn, was rejected because the true statement was reported in the

original Cellceutix statement. (Id. at 30-32).

      Finally, the Court addressed the set of claims that had been added in

the second set of amendments to Plaintiff’s pleadings, namely, claims that

Cellceutix had insufficiently disclosed two classes of material risk to the

company: (i) that the acquisition of Brilacidin would require a significant


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increase in fundraising in the short term, and (ii) that none of Defendants’

officers had experience in obtaining Phase III approval of a drug, thereby

creating a material risk regarding Defendants’ ability to plan for and manage

the necessary Phase III trials for Cellceutix’s newly acquired drug. (Dkt. #49

at 32-38 (citing SAC ¶¶ 37-38)). These claims, too, were rejected by the Court

based on findings that the company had made appropriate (if not as

particularized as Plaintiff sought) disclosures in their public statements and

that Plaintiff had alleged scienter insufficiently. (Id.).

      6.     The Motion for Sanctions

      On June 13, 2016, Defendants submitted a letter to the Court seeking

guidance regarding (i) their contemplated motion for sanctions under Fed. R.

Civ. P. 11 and (ii) the Court’s correlative obligation to make Rule 11 findings

under the PSLRA. (Dkt. #51). The Court held a pre-motion conference on

Defendants’ application on July 15, 2016 (Dkt. #64), and thereafter set a

schedule for briefing (Dkt. #59). Defendants’ motion papers were filed on

August 16, 2016 (Dkt. #62-63); Plaintiff’s opposition papers were filed on

September 23, 2016 (Dkt. #67-68); and Defendants’ reply memorandum was

filed on October 7, 2017 (Dkt. #69).




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                                  DISCUSSION

A.    Applicable Law

      1.    Sanctions Under Rule 11

      Federal Rule of Civil Procedure 11(b) provides, in relevant part, that

            [b]y presenting to the court a pleading, written motion,
            or other paper … an attorney … certifies that to the
            best of the person's knowledge, information, and belief,
            formed after an inquiry reasonable under the
            circumstances:

            (1) it is not being presented for any improper purpose,
            such as to harass, cause unnecessary delay, or
            needlessly increase the cost of litigation;

            (2) the claims, defenses, and other legal contentions are
            warranted by existing law or by a nonfrivolous
            argument for extending, modifying, or reversing
            existing law or for establishing new law;

            (3) the factual contentions have evidentiary support or,
            if specifically so identified, will likely have evidentiary
            support after a reasonable opportunity for further
            investigation or discovery; and

            (4) the denials of factual contentions are warranted on
            the evidence or, if specifically so identified, are
            reasonably based on belief or a lack of information.

Fed. R. Civ. P. 11(b). The rule imposes on attorneys “an affirmative duty to

conduct a reasonable inquiry into the facts and the law before filing.” Bus.

Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533, 551 (1991).

      The Second Circuit recently offered the following guidance concerning

the imposition of sanctions under Rule 11:

            “A pleading, motion or other paper violates Rule 11
            either when it has been interposed for any improper
            purpose, or where, after reasonable inquiry, a
            competent attorney could not form a reasonable belief
            that the pleading is well grounded in fact and is

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             warranted by existing law or a good faith argument for
             the extension, modification or reversal of existing law.”
             Kropelnicki v. Siegel, 290 F.3d 118, 131 (2d Cir. 2002)
             (internal quotation marks omitted). For example, Rule
             11 is violated “where it is patently clear that a claim
             has absolutely no chance of success under the existing
             precedents.” Eastway Constr. Corp. v. City of New
             York, 762 F.2d 243, 254 (2d Cir. 1985), superseded on
             other grounds by rule.

Sorenson v. Wolfson, — F. App’x —, No. 16-1224, 2017 WL 1043073, at *1 (2d

Cir. Mar. 16, 2017) (summary order); see also Star Mark Mgmt., Inc. v. Koon

Chun Hing Kee Soy & Sauce Factory, Ltd., 682 F.3d 170, 177 (2d Cir. 2012)

(noting that Rule 11 sanctions for pleadings are subject to an “objective

unreasonableness” standard); cf. Fishoff v. Coty Inc., 634 F.3d 647, 654 (2d

Cir. 2011) (“The fact that a legal theory is a long-shot does not necessarily

mean it is sanctionable. The operative question is whether the argument is

frivolous, i.e., the legal position has ‘no chance of success,’ and there is ‘no

reasonable argument to extend, modify or reverse the law as it stands.’”

(internal citations omitted)).

      “Sanctions that involve monetary awards (such as a fine or an award of

attorney’s fees) may not be imposed on a represented party for causing a

violation of subdivision (b)(2), involving frivolous contentions of law. Monetary

responsibility for such violations is more properly placed solely on the party’s

attorneys.” Fed. R. Civ. P. 11, 1993 Advisory Committee Notes. “Whether an

attorney’s conduct was unreasonable should be determined not with the

benefit of hindsight, but rather on the basis of what was objectively reasonable

to believe at the time the pleading, motion or other paper was submitted.


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Furthermore, all doubts must be resolved in favor of the signer of the

pleading.” In re IPO Secs. Litig., 399 F. Supp. 2d 369, 371 (S.D.N.Y. 2005)

(citations omitted).

      2.     Sanctions in Private Securities Actions

      In other types of litigation, even where Rule 11 is violated, “sanctions

under Rule 11 are discretionary, not mandatory.” Ipcon Collections LLC v.

Costco Wholesale Corp., 698 F.3d 58, 63 (2d Cir. 2012). Not so in the private

securities litigation context. Instead, at the conclusion of any private

securities lawsuit, the district court is obligated under the PSLRA both to

consider the plaintiff’s submissions under Fed. R. Civ. P. 11, and to impose

sanctions if violations of that rule are found:

             (1) Mandatory review by court: In any private action
             arising under this chapter, upon final adjudication of
             the action, the court shall include in the record specific
             findings regarding compliance by each party and each
             attorney representing any party with each requirement
             of Rule 11(b) of the Federal Rules of Civil Procedure as
             to any complaint, responsive pleading, or dispositive
             motion.

             (2) Mandatory sanctions: If the court makes a finding
             under paragraph (1) that a party or attorney violated
             any requirement of Rule 11(b) of the Federal Rules of
             Civil Procedure as to any complaint, responsive
             pleading, or dispositive motion, the court shall impose
             sanctions on such party or attorney in accordance with
             Rule 11 of the Federal Rules of Civil Procedure. Prior
             to making a finding that any party or attorney has
             violated Rule 11 of the Federal Rules of Civil Procedure,
             the court shall give such party or attorney notice and
             an opportunity to respond.




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15 U.S.C. § 78u-4(c)(1)-(2); see also ATSI Commc’ns, Inc. v. Shaar Fund, Ltd.,

579 F.3d 143, 152 (2d Cir. 2009) (“ATSI”); Rombach v. Chang, 355 F.3d 164,

178 (2d Cir. 2004).

      “The express congressional purpose” of this provision of the PSLRA is “to

increase the frequency of Rule 11 sanctions in the securities context, and thus

tilt the ‘balance’ toward greater deterrence of frivolous securities claims.”

ATSI, 579 F.3d at 152; accord Gurary v. Nu-Tech Bio-Med, Inc., 303 F.3d 212,

219-22 (2d Cir. 2002) (“Gurary III”); Simon DeBartolo Grp., L.P. v. Richard E.

Jacobs Grp., Inc., 186 F.3d 157, 166-67 (2d Cir. 1999). See generally 5A

Charles Alan Wright et al., Federal Practice & Procedure § 1338.1 (3d ed.

2004); William B. Rubenstein, Newberg on Class Actions § 19.28 (5th ed.

2011).

      Significantly, however, “[t]he PSLRA … does not in any way purport to

alter the substantive standards for finding a violation of Rule 11, but functions

merely to reduce courts’ discretion in choosing whether to conduct the Rule 11

inquiry at all and whether and how to sanction a party once a violation is

found.” Simon DeBartolo Grp., 186 F.3d at 167.

      3.      The Presumption for Substantial Violations of Rule 11

      Section 78u-4(c)(3) states a presumption concerning the appropriate

fees to impose and its rebuttal:

              (3) Presumption in favor of attorneys’ fees and costs

              (A) In general: Subject to subparagraphs (B) and (C),
              for purposes of paragraph (2), the court shall adopt a
              presumption that the appropriate sanction — (i) for
              failure of any responsive pleading or dispositive motion

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            to comply with any requirement of Rule 11(b) of the
            Federal Rules of Civil Procedure is an award to the
            opposing party of the reasonable attorneys’ fees and
            other expenses incurred as a direct result of the
            violation; and (ii) for substantial failure of any
            complaint to comply with any requirement of Rule
            11(b) of the Federal Rules of Civil Procedure is an
            award to the opposing party of the reasonable
            attorneys’ fees and other expenses incurred in the
            action.

            (B) Rebuttal evidence: The presumption described in
            subparagraph (A) may be rebutted only upon proof by
            the party or attorney against whom sanctions are to be
            imposed that — (i) the award of attorneys’ fees and
            other expenses will impose an unreasonable burden on
            that party or attorney and would be unjust, and the
            failure to make such an award would not impose a
            greater burden on the party in whose favor sanctions
            are to be imposed; or (ii) the violation of Rule 11(b) of
            the Federal Rules of Civil Procedure was de minimis.

            (C) Sanctions: If the party or attorney against whom
            sanctions are to be imposed meets its burden under
            subparagraph (B), the court shall award the sanctions
            that the court deems appropriate pursuant to Rule 11
            of the Federal Rules of Civil Procedure.

15 U.S.C. § 78u-4(c)(3).

      The term “substantial violation” is not defined in the statute. In Gurary

v. Nu-Tech Bio-Med, Inc., 303 F.3d 212 (2d Cir. 2002) (“Gurary III”), the Second

Circuit sought to delimit the term, and, in so doing, to resolve the related

issues of “whether a complaint containing both frivolous and nonfrivolous

allegations triggers the statutory presumption, and, if so, whether the

presence of nonfrivolous allegations, by itself, rebuts that presumption[.]” Id.

at 219. After identifying various categories of non-frivolous claims that might




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appear in a private securities action, 8 the Second Circuit concluded that “once

a substantial violation is found, the existence of some nonfrivolous claims

does not suffice to rebut the statutory presumption on the ground that full

sanctions would be an unreasonable and unjust burden.” Id. at 222. That led

the Court naturally to define what constituted a “substantial violation”:

             [A] substantial violation occurs whenever the
             nonfrivolous claims that are joined with frivolous ones
             are insufficiently meritorious to save the complaint as
             a whole from being abusive. Under this interpretation,
             the district court must examine the qualitative
             substance of the nonfrivolous claims in order to assess
             whether these claims were, in fact, legitimate filings
             that had the potential of prevailing or whether they
             patently lacked merit and only narrowly avoided being
             deemed frivolous themselves.

Gurary III, 303 F.3d at 222. The Court confirmed, however, that “even if no

substantial failure existed under the PSLRA, partial sanctions might still be

assessable under ordinary Rule 11 standards to punish not the bringing of the

whole suit, but only of the frivolous claim.” Id.

B.    Discussion

      The Court understands Defendants’ frustration at having to defend

against a class action lawsuit that proceeded from, and perpetuated, ominous


8     See Gurary v. Nu-Tech Bio-Med, Inc., 303 F.3d 212, 220-21 (2d Cir. 2002):
             A securities complaint may, however, present frivolous claims
             joined with nonfrivolous claims in a wide variety of ways,
             including the combination of frivolous claims with [i] valid,
             winning claims; [ii] claims lost before a jury but which are
             meritorious enough to survive summary dismissal; [iii] claims
             that, though properly dismissed at summary judgment because
             capable of resolution as a matter of law, presented novel legal
             issues that could well have gone in the plaintiff’s favor; and
             [iv] summarily dismissed claims that, while not legally frivolous,
             lack any merit.


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reports about Cellceutix’s long-term prospects for survival. The fact that it

was able to do so successfully does not mean, however, that it is entitled to

sanctions from Plaintiff or his counsel. Plaintiff’s claims before this Court

failed, but, with one possible exception discussed infra, it was not objectively

unreasonable for Plaintiff to bring them.

      1.     Preliminary Observations

      In arguing that the three complaints filed in this case amounted to

“abusive litigation,” Defendants present a wealth of background facts, such as

information concerning the Rosen Law Firm’s “Equity Alert” and the signed

certifications of putative plaintiffs who responded to that alert. The Court has

considered all of these facts. However, the Court is unwilling to make the

logical leap that the Rosen Law Firm’s prompt (Defendants would say

precipitous) conduct in soliciting purchasers of Cellceutix securities, standing

alone, renders the instant litigation “abusive,” or suggests that sanctions are

appropriate. 9

      The record suggests the Rosen Law Firm, more than any particular

investor, was the driving force behind this litigation. That, however, is not

proscribed by the PSLRA: While the statute exists to stem the tide of frivolous

private securities actions, it of course recognizes that private actions are




9     The Court understands that Defendants are not saying that this pre-litigation and pre-
      SAC conduct alone warrants sanctions, but is part of a larger collection of sanctionable
      conduct by the Rosen Law Firm. The Court’s point is that Defendants spend so much
      of their submissions reminding the Court of facts extraneous to the pleadings that the
      Court feels obligated to place these facts in context. (See, e.g., Def. Sanctions Br. 8-12,
      14, 16, 23; Def. Sanctions Reply 8-9).


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sometimes warranted, and it does not prohibit attorneys from soliciting

investors who seek to vindicate their rights under the securities laws. Indeed,

the very existence of § 78u-4(c) incentivizes law firms to ensure that those

actions they do file (and certify) are objectively reasonable.

      Of note, the PSLRA requires this Court to review and make Rule 11

findings about “any complaint, responsive pleading, or dispositive motion.” 15

U.S.C. § 78u-4(c)(1). It does not require a comparable review of the Equity

Alert, the plaintiff certifications, or the draft complaints in this matter. To be

clear, the Court understands Defendants’ concerns about certifications signed

just a few hours after the release of the Mako Research Report, and their

concomitant arguments that such certifications necessarily mean that the

Complaint was sanctionable. However, the Court has also considered the

record evidence that: (i) the Complaint was not in fact filed until nearly a

month after the Report was issued (Dkt. #1); (ii) Rosen Law Firm attorneys

“reviewed the allegations contained in the [R]eport ... [by] reviewing the

sources cited therein, and verifying that the sources relied upon by the

[author] are reliable, and that the [author] accurately reflected their contents”

before filing the Complaint (Rosen Sanctions Decl. ¶ 2); and (iii) the two

plaintiffs in this case had received (and presumably reviewed) the final

versions of the Complaint and the FAC prior to their respective filings (id. at

¶ 3). 10 The Court will focus more on the objective reasonableness of the


10    Nor, given these facts, does the Court believe it necessary to undertake an in camera
      review of precisely what investigative steps were completed by the Rosen Law Firm
      prior to filing each complaint.


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complaints, and less on the sequence of events immediately prior to their

filing.

          A second fact to which Defendants ascribe considerable significance is

that the progenitor of this litigation was an anonymous poster to the Seeking

Alpha website. (See Def. Sanctions Reply 3-4). Contrary to Defendants’

arguments, the Court is not prepared to find, as a matter of law, that it was

objectively unreasonable for Plaintiff and his law firm to rely on information

provided by a first-time, anonymous poster to a website. (Compare Def.

Sanctions Br. 14-15, and Def. Sanctions Reply 3 n.1, with Pl. Sanctions

Opp. 5-7 (discussing cases in which courts have permitted reliance on

anonymous or short-seller reports)). While it is true that the author was

anonymous, the report was posted to a website that aggregated information

about the stock markets and the financial sector. The author made clear his

biases by announcing himself as a short-seller. (Def. Sanctions Br., Ex. 2 at

1). Most importantly, the post was 38 pages long, exhaustively detailed, and

complemented by supporting photographs, graphs, and charts.

          What is more, Plaintiff and the Rosen Law Firm did not rely exclusively

on the Mako Research Report. As discussed supra, the Rosen Law Firm avers

that its lawyers separately reviewed the contentions in the Mako Research

Report, as well as the underlying source documents, prior to filing the

complaints in this case. (Rosen Sanctions Decl. ¶ 2). Resolution of this

argument further confirms for the Court that the proper focus is on the




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reasonableness vel non of Plaintiff’s arguments, rather than any background

facts.

         2.    The Court Will Consider All Three Complaints

         Defendants contend that the Court must conduct its Rule 11 review of

all three complaints. (Def. Sanctions Br. 5-6, 12-13). Plaintiff protests,

claiming that Second Circuit precedent requires only consideration of the SAC,

and, alternatively, that Defendants were not prejudiced by the Complaint and

the FAC because (i) the only change in the first two iterations was the

replacement of the plaintiff and (ii) Plaintiff notified Defendants of his intention

to amend promptly after receiving Defendants’ Rule 11 notice. (Pl. Sanctions

Opp. 1-3).

         The Court here adopts the conclusion of Judge Cote in In re Australia

and New Zealand Banking Group Limited Securities Litigation, 712 F. Supp. 2d

255, 266-67 (S.D.N.Y. 2010), that a district court’s review must include all

iterations of the complaint filed, even if the defendant did not respond to them.

See id. at 266 (“Plaintiff’s counsel have identified no authority for the

proposition that the filing of an amended complaint overwrites a Rule 11

violation contained in an original pleading and thereby prevents the imposition

of sanctions under the PSLRA.”); see also 15 U.S.C. § 78u-4(c)(1) (specifying a

mandatory review of “any complaint, responsive pleading, or dispositive

motion” (emphasis added)). That said, the Court agrees with Plaintiff that

some guidance must be drawn from the Second Circuit’s conclusion that

sanctions under the PSLRA might not be appropriate where a plaintiff, with


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leave to amend, was able to assert a cognizable claim for securities fraud. (See

Pl. Sanctions Opp. 4-5). Specifically, in Gurary v. Winehouse, 235 F.3d 792

(2d Cir. 2000) (“Gurary II”), the Second Circuit concluded:

            Because we do not believe that the PSLRA was
            designed to mandate sanctions in all cases for a
            complaint that, if properly pleaded, could state a
            cognizable claim under the securities laws, we examine
            Gurary’s case to determine whether an amendment
            could have stated such a claim.
            Had Gurary been afforded the opportunity to amend
            his     complaint     to     allege    Feigenbaum’s
            misrepresentations with proper specificity, as he
            apparently sought to do, Gurary could have asserted a
            cognizable claim under Rule 10b-5 with respect to his
            second two purchases.

Id. at 801-02. Here, Plaintiff sought and obtained leave to file the SAC after

(i) receiving Defendants’ Rule 11 letter and (ii) participating in a pre-motion

conference before the Court concerning Defendants’ anticipated motion to

dismiss. This conduct reflected an effort to plead a cognizable claim that,

while ultimately unsuccessful, warrants caution in awarding sanctions for the

Complaint and the FAC.

      This Court is guided by both of these decisions, as well as the text and

legislative history of the PSLRA. It believes that the proper course is to

consider the allegations in all of the pleadings, but also to consider, in

determining the objective unreasonableness of an earlier pleading, whether

amendments could have cured the proffered deficiencies, and the manner and

degree to which a later pleading modified claims made in an earlier pleading to

make them more viable. Here, for example, the Complaint and the FAC

appear to be deficient in their allegations of scienter; however, Plaintiff was

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given an opportunity to, and attempted to, remedy these deficiencies in the

SAC. See Fishoff, 634 F.3d at 655 (“We also agree with the district court that

a party’s failure to plead with the requisite particularity does not necessarily

warrant sanctions. Accordingly, we conclude that the district court did not

abuse its discretion in denying sanctions.”). Moreover, in this case, the

misrepresentations and omissions of material fact alleged in the SAC amplify

the claims made in the Complaint and the FAC. This is not, therefore, a case

in which Plaintiff filed a “placeholder” complaint that was wholly bereft of

actionable allegations, with the hope of amending the complaint at some point

in the future to forestall Rule 11 sanctions. The claims are effectively the

same across the three complaints; the Court will address their merits as

presented in the SAC.

      3.    Plaintiff’s Claims, While Legally Erroneous, Were Not
            Objectively Unreasonable

      Resolution of this motion has not caused the Court to doubt in any way

the correctness of its June 8, 2016 decision. That said, the current inquiry is

not whether Plaintiff’s claims were ultimately successful, but whether it was

objectively unreasonable for Plaintiff and his counsel to advance them. See

Charles v. Levitt, Nos. 15 Civ. 9334, 15 Civ. 9758 (PAE), 2016 WL 3982514, at

*6 (S.D.N.Y. July 21, 2016) (“When a party’s legal contentions are challenged

as violating Rule 11, ‘[t]he operative question is whether the argument is

frivolous, i.e., the legal position has no chance of success, and there is no

reasonable argument to extend, modify, or reverse the law as it stands.’”

(quoting Fishoff, 634 F.3d at 654)).

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      Reviewing carefully Plaintiff’s claims in this case, the Court finds them

(with one possible exception discussed infra) unsuccessful, but not

indefensible. To start, Defendants’ arguments about the claims relating to

Menon’s educational background overlook one critical fact — there were false

statements that Menon obtained his Ph.D. from Harvard University in both the

Future Woman article and the Cellceutix October 2009 Form 10-K. And

Plaintiff had a colorable argument that the statements were material, given

Menon’s criticality to Cellceutix.

      The contested legal issue regarding the Future Woman article was

whether any false statements therein were fairly attributable to Menon or

Cellceutix. Here, the Court agrees with Plaintiff (see Pl. Sanctions Opp. 9-10)

that the Supreme Court’s decision in Janus did not foreclose an argument that

the statement, surrounded as it was by what appeared to be direct quotes

from Menon, could fairly be attributed to Menon, or that Menon had so

entangled himself in the publication of the article that he (or Cellceutix

generally) could be deemed to have exercised “ultimate authority” over the

statement. (See Dkt. #49 at 13-16, and cases discussed therein). The Court

disagreed, but it was not inappropriate for Plaintiff to obtain clarification of

Janus in this setting. 11 This is especially the case where the Second Circuit


11    Relatedly, Plaintiff had a colorable, if ultimately unavailing, argument that correction
      of the error in the October 2009 Form 10-K in subsequent public statements was
      inadequate, and that Cellceutix should have acknowledged more affirmatively the error
      and its correction. The Second Circuit precedent on which the Court relied required
      that “corrective information … be conveyed to the public ‘with a degree of intensity and
      credibility sufficient to counter-balance effectively any misleading information created
      by’ the alleged misstatements.” Ganino v. Citizens Util. Co., 228 F.3d 154, 167 (2d Cir.
      2000) (quoting In re Apple Computer Sec. Litig., 886 F.2d 1109, 1116 (9th Cir. 1989)).

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issued a helpful decision, In re Pfizer Inc. Securities Litigation, 819 F.3d 642

(2d Cir. 2016), after the parties had concluded briefing on Defendants’ motion

to dismiss.

      Plaintiff’s arguments regarding Kevetrin failed for different reasons, but

these, too, were permissible attempts to seek clarity in the law. Plaintiff

principally challenged Cellceutix’s use of the p21 gene as a “biomarker”; citing

Kleinman, 706 F.3d 145, the Court found that “[s]ecurities law is simply not a

vehicle through which courts will police disagreements in the cancer research

community or the parameters of clinical trials.” (Dkt. #49 at 30). However,

Plaintiff is correct (see Pl. Sanctions Opp. 9) in noting that courts have

grappled with the interplay of the Kleinman decision and the Supreme Court’s

earlier decision in Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27 (2011).

See, e.g., In re Delcath Sys., Inc. Sec. Litig., 36 F. Supp. 3d 320, 333 (S.D.N.Y.

2014) (distinguishing the actionable “failure to disclose adverse events” in

Matrixx with the non-actionable “failure to disclose differences in methodology

and interpretation” in Kleinman). Plaintiff and his counsel were not objectively

unreasonable in advancing arguments at the border of these two lines of cases

in suggesting that Defendants were hiding the ball as to the appropriate gene

marker.

      A third category of claims relates to the particularity and placement of

Cellceutix’s risk disclosures, including its disclosures regarding (i) the effect of



      Plaintiff was within his rights to argue that the corrections in subsequent Cellceutix
      public filings were not sufficient.


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Kevetrin on a clinical trial patient, (ii) the short-term increase in funding

required by the acquisition of Brilacidin from PolyMedix; and (iii) the lack of

experience in conducting Phase III clinical trials for the drugs it was

developing. (See Dkt. #49 at 30-36). The Court found the disclosures to be

sufficient under the governing statutes, regulations, and case law. However,

in this category, too, the Court concludes that it was not objectively

unreasonable for Plaintiff to argue that specialized, additional disclosures were

needed given the nature of Cellceutix’s business. 12

      Finally, Plaintiff’s claims regarding Brilacidin require more discussion,

but even here the Court cannot say that they were objectively unreasonable.

To recapitulate, the Mako Research Report had offered various criticisms of

Brilacidin, including claims that (i) Brilacidin would be “difficult to

commercialize,” because of, among other things, the high costs of developing a

successful antimicrobial peptide (“AMP”); (ii) Brilacidin, which the author

considered an AMP, did not work on “7/8 types of bacterial infection,



12    See generally 17 C.F.R. § 229.305 (Item 305 of Regulation S-K):
             (b) Qualitative information about market risk.
             (1) To the extent material, describe: (i) The registrant’s primary
             market risk exposures; (ii) How those exposures are managed.
             Such descriptions shall include, but not be limited to, a
             discussion of the objectives, general strategies, and instruments,
             if any, used to manage those exposures; and (iii) Changes in either
             the registrant’s primary market risk exposures or how those
             exposures are managed, when compared to what was in effect
             during the most recently completed fiscal year and what is known
             or expected to be in effect in future reporting periods.
             (2) Qualitative information about market risk shall be presented
             separately for market risk sensitive instruments entered into for
             trading purposes and those entered into for purposes other than
             trading.


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including the most common types of infection”; (iii) there was evidence that

Brilacidin would not work for the remaining “1/8 type of infection”; and

(iv) the drug caused “adverse side effects and will likely not be approved.”

(Sullivan MTD Decl., Ex. 1 at 4-5; see also id. at 7 (referring to Brilacidin as “a

cationic AMP”)). Relatedly, the Mako Research Report questioned the efficacy

of Brilacidin in an oral-rinse format for use by certain cancer patients in order

to treat oral mucositis and thereby prevent infection. (Id. at 7 (“Our review on

the ‘science’ of Brilacidin has contradicted the claimed benefits, especially the

antimicrobial activity. Hence, the efficacy and safety of Brilacidin oral rinse

are now questionable.”)). In its August 7 Press Release, Cellceutix addressed

each of these contentions. As relevant here, the company noted that

(i) Brilacidin was not an AMP, but rather was a fully synthetic “nonpeptidal

mimic of an antimicrobial peptide,” to which most of the Mako Research

Report’s AMP-based criticisms did not apply; (ii) the drug “[wa]s for treating

Gram-positive bacteria … and was not developed for the treatment of Gram-

negative infections”; and (iii) Brilacidin’s efficacy with respect to oral mucositis

derived from its anti-inflammatory, and not its antimicrobial, properties.

(Sullivan MTD Decl., Ex. 2 at 7). 13



13    See also Sullivan MTD Decl., Ex. 2 at 6:
             While patients with oral mucositis are at risk of infection through
             open ulcers, the disease is not caused by infection. Accordingly,
             [B]rilacidin’s efficacy in oral mucositis is not based on its
             antibiotic properties.       Rather, it is based on its
             immunomodulatory properties. Indeed, positive data from reliable
             animal models of oral mucositis (without evidence of concomitant
             bacterial infection) support an immunomodulatory, rather than
             antimicrobial, mechanism of action.


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      In the Complaint and the FAC, Plaintiff claimed that two statements

made by Cellceutix concerning Brilacidin were materially false, and that this

falsity was demonstrated by the Mako Research Report and Cellceutix’s own

August 7 Press Release. First was the September 9, 2013 press release

concerning the acquisition of assets from PolyMedix, where Cellceutix

described Brilacidin as “a first-in-class defensin-mimetic antibiotic that has

completed a Phase 2a clinical trial demonstrating safety, tolerability and

efficacy in patients with acute bacterial skin and skin structure infections

(‘ABSSSI’) caused by Staphylococcus aureus.” (Compl. ¶ 18; FAC ¶ 18).

Plaintiff claimed that this statement was false by citing to the Mako Research

Report’s discussion of the drug’s ineffectiveness, including specifically its

ineffectiveness against Gram-negative bacteria strains. (Compl. ¶¶ 22, 25;

FAC ¶¶ 22, 25). Second was the poster from the 2015 ECCMID conference in

Copenhagen, which poster stated that (i) “Brilacidin has potent Gram positive

activity, Gram negative coverage, but low cytotoxicity against mammalian

cells,” and (ii) the drug could be used to treat oral mucositis. (Compl. ¶ 20;

FAC ¶ 20). Again, Plaintiff claimed that the statements were false, because, as

the Mako Research Report explained, Brilacidin was “not effective.” (Compl.

¶ 22; FAC ¶ 22).

      By the time of the Second Amended Complaint, Plaintiff had sharpened

his theory; the Court presumes that this occurred, at least in part, because of

Defendants’ Rule 11 letter. Rather than claiming broadly that Brilacidin was

ineffective, Plaintiff claimed that Defendants had misstated — in public


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statements prior to the August 7 Press Release — that Brilacidin was effective

against Gram-negative bacteria and as an antibiotic oral rinse. (SAC ¶ 5).

Plaintiff continued to focus on the ECCMID poster — which, as now conceived

by Plaintiff, falsely “touted Brilacidin’s ability to kill gram-negative bacteria

such as Escherichia coli (‘E. coli’).” (Id. at ¶ 25). However, Plaintiff now cited

statements contained in several of Cellceutix’s Form 10-Qs for 2014 and 2015

(id. at ¶ 27); these statements concerned the effectiveness of Brilacidin on oral

mucositis on account of its “antibacterial, anti-biofilm and anti-inflammatory

properties” (id. at ¶ 28). 14 According to Plaintiff, Cellceutix’s own statements

confirmed that “Brilacidin’s alleged antibiotic properties could not be effective

in treating oral mucositis.” (Id.). Moreover, Plaintiff alleged that, as developed,

Brilacidin would not be able to be designated a “qualified infectious disease

product” (or “QIPD”), which designation brought with it benefits including fast-

track approval and a period of exclusivity. (Id. at ¶ 28 & n.2).

      As distinguished from Plaintiff’s other claims, which involved attempts

to expand or clarify existing law, the Brilacidin claims failed largely for

pleading insufficiencies. That is, while the Court understood the points

Plaintiff sought to make, it found Plaintiff’s actual challenges to Cellceutix’s




14    See SAC ¶ 27 (quoting from Cellceutix September 2014 Form 10-K) (emphasis added):
             [I]n animal models of oral mucositis, an oral rinse containing
             Brilacidin was shown to reduce the occurrence of severe ulcerative
             oral mucositis by more than 90% compared to placebo. Brilacidin
             and related compounds have shown antibacterial, anti-biofilm
             and anti-inflammatory properties in various pre-clinical studies.
             We believe that the combination of these attributes contribute to the
             efficacy of Brilacidin in these animal models.


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public statements to be unnecessarily exacting, if not pedantic. (Dkt. #49 at

22-27). With respect to the ECCMID poster, the Court distinguished — and,

more importantly, found that attendees at the conference would be able to

distinguish — “Gram positive activity” from “Gram negative coverage,” and

would understand that this meant only that Brilacidin may be effective against

some strains of Gram-negative bacteria, despite being designed for Gram-

positive bacteria. (Id. at 22-24). The Court also found that attendees at the

conference would be able to understand the coverage to which Cellceutix was

referring because of the inclusion of graphs of Brilacidin’s activity against two

specific strains of bacteria, one Gram-positive and one Gram-negative. (Id. at

23).

       And as for Brilacidin’s utility in treating patients with oral mucositis, the

Court found that Plaintiff erred in parsing Cellceutix’s statements and in

focusing on the QIPD designation. (Dkt. #49 at 25-26). Beginning with the

latter, the Court found that Plaintiff erred in assuming that the mere mention

by Cellceutix of Brilacidin’s antibiotic properties was designed to trick

investors into believing the drug could qualify for QIPD designation. (Id. at 26

n.15). Such an assumption was unwarranted, because oral mucositis was not

an infectious disease, and as such would not be eligible for QIPD designation.

Accordingly, there was no fraud in stating that Brilacidin’s efficacy derived

from multiple properties. (Id. at 27).

       There is a difference between hair-splitting — which Plaintiff and his

counsel may have been guilty of with respect to the Brilacidin claims — and


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objective unreasonableness. For this reason, the Court can conclude that

Plaintiff’s Brilacidin claims were his most aggressive (or, perhaps, his least

defensible), but cannot conclude that they were frivolous. Cf. In re IPO Secs.

Litig., 399 F. Supp. 2d at 371 (“Furthermore, all doubts must be resolved in

favor of the signer of the pleading.” (citations omitted)). Even if they were, the

Court could not find a substantive violation of Rule 11. The Second Circuit in

Gurary III instructed district courts to “examine whether nonfrivolous claims

have been joined and, if so, whether these claims — whatever their

number — are of a quality sufficient to make the suit as a whole nonabusive

and the Rule 11 violation not substantial.” Gurary III, 303 F.3d at 223. Here,

Plaintiff raised several claims with legitimate, if ultimately unavailing, legal

arguments. These claims are “[]sufficiently meritorious to save the complaint

as a whole from being abusive.” Id. at 222. 15

                                      CONCLUSION

      For the reasons stated in this Opinion, Defendants’ motion for sanctions

is DENIED. The Clerk of Court is directed to terminate the motion pending at

docket entry 62.

      SO ORDERED.

Dated:        March 29, 2017
              New York, New York                     __________________________________
                                                          KATHERINE POLK FAILLA
                                                         United States District Judge


15    As Gurary III suggests and as Defendants request in the alternative, the Court has
      considered whether to impose partial sanctions for the Brilacidin claims. After careful
      consideration, and largely for the reasons set forth in the text, it does not believe such
      sanctions are warranted.


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